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         In the United States Court of Federal Claims
                                         No. 19-449
                                     Filed: July 3, 2019

                                             )
 THE MODERN SPORTSMAN, LLC, et               )
 al.,                                        )
                                             )
                   Plaintiffs,               )
                                             )
 v.                                          )
                                             )
 THE UNITED STATES,                          )
                                             )
                   Defendant.                )
                                             )
                                             )

                                         ORDER

        On July 2, 2019, defendant filed an unopposed motion for extension of time to file a
reply in support of its Motion to Dismiss until July 22, 2019. For good cause shown,
defendant’s Motion is hereby GRANTED. Accordingly, defendant’s Reply in Support of its
Motion to Dismiss is due by July 22, 2019.

       IT IS SO ORDERED.


                                                 s/   Loren A. Smith
                                                 Loren A. Smith,
                                                 Senior Judge
